     Case 2:01-cv-02223-PBT Document 398 Filed 08/17/18 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
CHECKPOINT SYSTEMS, INC.,                          :
                                                   :
                      Plaintiff,                   :   Civil Action
                                                   :   No. 01-CV-2223
       v.                                          :
                                                   :   Judge Petrese B. Tucker
ALL-TAG SECURITY S.A.,                             :
ALL-TAG SECURITY AMERICAS, INC.,                   :
SENSORMATIC ELECTRONICS                            :   Electronically Filed
CORPORATION and KOBE PROPERTIES                    :
SARL,                                              :
                                                   :
                      Defendants.                  :

DEFENDANTS ALL-TAG SECURITY S.A., ALL-TAG SECURITY AMERICAS,
   INC., SENSORMATIC ELECTRONICS CORPORATION, AND KOBE
 PROPERTIES SARL’S MOTION FOR PARTIAL RECONSIDERATION OF
               THE COURT’S AUGUST 7, 2018 ORDER

              Pursuant to Local Rule 7.1, Defendants, by and through their undersigned

counsel, move for partial reconsideration of the Court’s August 7, 2018 Order (Dkt. 397)

for the reasons set forth in the accompanying Memorandum of Law.

/s/Theodore A. Breiner                         /s/M. Kelly Tillery
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S.A., All-Tag Security Americas, Inc., and
Kobe Properties SARL

Dated: August 17, 2018
